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                       THE UNITED STATES DISTRICT COURT FOR THE
17
                             NORTHERN DISTRICT OF CALIFORNIA
18
     CALIFORNIA COUNCIL OF THE BLIND,    Case No. 3:24-CV-1447
19   NATIONAL FEDERATION OF THE BLIND
     OF CALIFORNIA, CHRISTOPHER GRAY, 1. PLAINTIFFS’ CERTIFICATION OF
20   RUSSELL RAWLINGS, and VITA ZAVOLI,  CONFLICTS AND INTERESTED
                                         ENTITIES OR PERSONS
21             Plaintiffs,
22
     v.
23

24   SHIRLEY N. WEBER, in her official capacity
     as California Secretary of State,
25
                    Defendant.
26

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 1           TO THE COURT, AND TO ALL PARTIES AND COUNSEL OF RECORD:
 2           The undersigned is counsel of record for Plaintiffs California Council of the Blind,
 3   National Federation of the Blind of California, Christopher Gray, Russell Rawlings, and Vita
 4
     Zavoli and hereby submits the following disclosure statement pursuant to Civil Local Rules 3-
 5
     15: Pursuant to Civil L.R. 3-15, the undersigned certifies that as to this date, there is no conflict
 6
     or interest (other than the named parties) to report.
 7

 8
     DATED: March 8, 2024                             Respectfully submitted,
 9
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     Cal. Council of the Blind, et al. v. Weber, Case No. 3:24-CV-1447
     Plaintiffs’ Certification of Conflicts and Interested Parties                                           2

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         Case 3:24-cv-01447-SK Document 2 Filed 03/08/24 Page 4 of 4



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